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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               GREENVILLE DIVISION

 Jane Doe 1, Jane Doe 2, Jane Doe 3, Jane         )
 Doe 4, Jane Doe 5, Jane Doe 6, Jane Doe 7,       )
 John Doe 1, John Doe 2, and John and Jane        )
 Does 1-100,                                      )
                                                  )
                                                  ) C.A. NO.: 6:22-CV-02957-HMH
                Plaintiffs,                       )
                                                  )
 v.                                               )
                                                  )
 Varsity Brands, LLC; Varsity Sprit, LLC;         )
 Varsity Brands Holding Company, Inc.; U.S.       )
 All Star Federation, Inc. d/b/a U.S. All Star    )
 Federation; USA Federation for Sport             )
 Cheering d/b/a USA Cheer; Charlesbank            )
 Capital Partners, LP; Bain Capital, LP; Jeff     )
 Webb, individually; Rockstar Cheer &             )
 Dance, Inc.; Katherine Anne Foster as the        )
 personal representative of the Estate of Scott   )
 Foster; Kathy Foster, individually; Josh         )
 Guyton; Traevon Black a/k/a Trey Black           )
 n/k/a Tracey Black; and other Unknown            )
 Defendants,                                      )
                                                  )
                Defendants.                       )

                   DEFENDANT JEFF WEBB’S MOTION TO DISMISS



       Defendant Jeff Webb (“Mr. Webb”) by and through his undersigned counsel, hereby moves

to dismiss Plaintiffs’ claims pursuant to Rule 12(b)(2) and Rule 12(b)(6) of the Federal Rules of

Civil Procedure. As demonstrated more fully in Defendant Jeff Webb’s Memorandum of Law in

Support of his Motion to Dismiss Plaintiffs’ First Amended Complaint Pursuant to Rules 12(b)(2)

and 12(b)(6) of the Federal Rules of Civil Procedure, the Court should dismiss Plaintiffs’ claims

in their entirety because the Court cannot exercise personal jurisdiction over Mr. Webb for

Plaintiff’s causes of action against him and because Plaintiff has failed to state a claim upon which
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relief can be granted as to any of the causes of action asserted in their First Amended Complaint

against Mr. Webb.

        WHEREFORE, Mr. Webb respectfully requests that, pursuant to Fed. R. Civ. P. 12(b)(2)

and/or 12(b)(6), this Court should grant his Motion to Dismiss Plaintiffs’ First Amended

Complaint in its entirety.

                                                FAYSSOUX & LANDIS, ATTORNEYS AT
                                                LAW, P.A.

                                                /s/James W. Fayssoux, Jr.
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                                                * Admitted pro hac vice

                                                ATTORNEYS FOR JEFF WEBB

Dated: December 19, 2022



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